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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                         CIVIL ACTION NO. 3:19-CV-00851-BJB-CHL


  CHELSEY NELSON PHOTOGRAPHY LLC, et al.,                                               Plaintiffs,

  v.

  LOUISVILLE/JEFFERSON COUNTY METRO GOVERNMENT, et al.,                              Defendants.

         MEMORANDUM AND ORDER REGARDING SEALING CONFIDENTIAL
                           INFORMATION

         This memorandum and order regarding sealing confidential information enunciates the

  specific standards that must be met and the procedures that must be followed in order to file

  anything in the Court record under seal.

                       Legal Standard Required to File Information Under Seal

         Although the Sixth Circuit has long recognized a “strong presumption in favor of

  openness” regarding court records, there are certain interests that overcome this “strong

  presumption.” Rudd Equipment Co., Inc. v. John Deere Construction & Forestry Co., 834 F.3d

  589, 593 (6th Cir. 2016) (citing Brown & Williamson Tobacco Corp. v. FTC, 710 F.2d 1165, 1179

  (6th Cir. 1983)). These interests include “certain privacy rights of participants or third parties,

  trade secrets, and national security.” Brown, 710 F.2d at 1179. The party seeking to seal the

  records bears a “heavy” burden; simply showing that public disclosure of the information would,

  for instance, harm a company’s reputation is insufficient. Id.; Shane Grp. Inc. v. Blue Cross Blue

  Shield of Mich., 825 F.3d 299, 305 (6th Cir. 2016). Instead, the moving party must show that it

  will suffer a “clearly defined and serious injury” if the judicial records are not sealed. Shane, 825

  F.3d at 307. Examples of injuries sufficient to justify a sealing of judicial records include those
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  that could be used as “sources of business information that might harm a litigant’s competitive

  standing.” Nixon v. Warner Comm’ns, Inc., 435 U.S. 589, 598 (1978).

         In rendering a decision, the Court must articulate why the interests supporting

  nondisclosure are compelling, why the interests supporting public access are not as compelling,

  and why the scope of the seal is no broader than necessary. Shane, 825 F.3d at 306. Importantly,

  the presumption that the public has the right to access judicial records does not vanish simply

  because all parties in the case agree that certain records should be sealed. Rudd, 834 F.3d at 595

  (noting that although the defendant did not object to the plaintiff’s motion to seal, his lack of

  objection did not waive the public’s First Amendment and common law right of access to court

  filings); Shane, 825 F.3d at 305 (“A court’s obligation to keep its records open for public inspection

  is not conditioned on an objection from anybody.”).

         It is highly unlikely that the Court will place entire motions and their supporting documents

  under seal. To do so would eliminate from the public record all bases for any ruling upon the

  motion by the Court thereby eviscerating the public’s First Amendment right of access. The parties

  are encouraged to be very selective in the information they seek to seal. A party cannot expect to

  reap the benefits of an overbroad request by shifting the onus to the Court to determine on a “line-

  by-line basis—that specific information in the court record meets the demanding requirements for

  a seal.” Shane Grp., 825 F.3d at 308.

                 Procedure Required to Obtain Leave to File Under Seal in This Case

     1. Any party who wishes to file material under seal must file an appropriate motion in the

         Court record seeking leave to do so. In filing this motion, the moving party MUST comply

         with Local Rule 5.6. If the motion to seal is granted, the document shall remain under seal,

         unless the Court orders otherwise. If the Court denies the motion to seal, any party may




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         file that same material, which was the subject of the motion to seal, in the public record

         following the of entry of the Court’s order denying the motion to seal.

     2. In the event a party moves to file under seal information which has been designated as

         confidential by someone else (e.g., another party or a non-party), the party shall file a

         motion to provisionally seal and indicate that the information has been designated as

         confidential by someone else.       The party who has designated the information as

         confidential will have fourteen days from service of the motion to provisionally seal to

         file: (a) a response indicating whether that party moves to permanently seal, and (b) if the

         response is in the affirmative, any declarations or other papers supporting such response.

         If the moving party opposes a response requesting a permanent seal, the moving party shall

         file a reply within seven days of service of the response.

     3. Except as stated in Federal Rule of Civil Procedure 5.2, redaction is considered by the

         Court to be the same as sealing information. A proposed redacted document (the document

         with the confidential information redacted from it) should be filed as an attachment to the

         motion to seal or response to the motion to seal, as is appropriate under the circumstances.

     4. Failure to comply with the procedures set forth in this order may result in the Court

         summarily denying the motion.


  IT IS SO ORDERED.




      March 29, 2022
  cc: Counsel of record




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